         Case 1:12-cv-00862-LY Document 104-5 Filed 03/15/16 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

UNITED STATES COMMODITY                          §
FUTURES TRADING COMMISSION,                      §
                                                 §
                   Plaintiff,                    §
                                                 §
v.                                               §          Civil Action No. A-12-CV-0862-LY
                                                 §
SENEN POUSA, INVESTMENT                          §
INTELLIGENCE CORPORATION,                        §
DBA PROPHETMAX MANAGED FX,                       §
JOEL FRIANT, MICHAEL DILLARD, and                §
ELEVATION GROUP, INC.,                           §
                                                 §
                   Defendants.                   §

                ORDER GRANTING RECEIVER’S UNOPPOSED
         MOTION FOR APPROVAL OF FIFTH INTERIM FEE APPLICATION

       Before the Court is the Receiver’s Unopposed Motion for Approval of Fifth Interim Fee

Application and Brief in Support (“Motion”). Having considered the Motion, the evidence

presented, and arguments of counsel, if any, the Court finds that the time spent, services performed,

hourly rates charged, and expenses incurred by the Receiver and his retained professionals were

reasonable and necessary for the Receiver to perform his Court-ordered duties. The Court

concludes that the Motion should be, and is hereby, GRANTED.

       It is therefore ORDERED that payment in the amount of $_________________ for

services rendered from April 1, 2014 through January 31, 2016 is approved.

       SIGNED this              day of                               , 2016.




                                                      LEE YEAKEL
                                                      UNITED STATES DISTRICT JUDGE
